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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,
          Plaintiff,
      v.                                       Civ. No. 18-145 JMS RT
  SANDWICH ISLES COMMUNI-
  CATIONS, INC., et al.,
          Defendants.



                              DECLARATION OF COUNSEL

        I, Shane Huang, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.     I am a Trial Attorney at the United States Department of Justice, Civil

 Division, Commercial Litigation Branch, Corporate/Financial Litigation Section. I

 am licensed to practice law in the State of Illinois and I am one of the attorneys of

 record herein for Plaintiff the United States of America (the “United States” or

 “Plaintiff”) in this case.


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       2.     I am over the age of eighteen (18) years, I have personal knowledge of

 the matters stated in this declaration and I am fully competent and qualified to

 make all statements set forth in this declaration. If called as a witness I could and

 would testify to the truth of the matters stated herein.

       3.     I submit this Declaration in support of the The United States of

 America’s Unopposed Motion for Order Approving Execution Sale Procedures

 (the “Motion”) in this case.

       4.     On May 1, 2020, the Clerk of Court issued a Writ of Execution in this

 case. ECF No. 260

       5.      On May 7, 2020, the United States Marshal for the District of Hawaii

 (the “Marshal”) executed on the property of Sandwich Isles Communications, Inc.

 (“Sandwich Isles”), and on May 11, 2020, the Marshal filed a notice on the Court’s

 docket. ECF No. 266. I have confirmed with the Marshal’s office that the Marshal

 is prepared to conduct an execution sale on the selected personal property of

 Sandwich Isles at 12:00 p.m. on Monday, May 20, 2024, on the steps in front of

 the United States Courthouse, 300 Ala Moana Boulevard, Honolulu HI 96850.

       6.     In accordance with the procedures set forth in the proposed order

 submitted contemporaneously with the Motion, the Marshal shall post copies of the

 Writ of Execution, a Notice of Execution Sale, and the list of personal property

 assets to be auctioned in five (5) conspicuous places in the City & County of

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 Honolulu, State of Hawaii (U.S. District Court, Circuit Court of the First Circuit,

 District Court of the First Circuit, Honolulu City Hall and the Hawaii State

 Library), as well as posting at the headquarters of Sandwich Isles Communications,

 Inc. located at 77-808 Kamehameha Highway, Mililani Hawaii 96789.

       7.     After posting notice as set forth above, the Marshal will file a Notice

 of Execution Sale in this Court.

       8.     For a period of no shorter than 15 days prior to the sale, the Marshal

 will cause the Honolulu Star-Advertiser to advertise the date and time of the

 execution sale, as well as identifying the personal property to be sold at such sale,

 in the Legal Notices section of the newspaper in accordance with Chapter 651 of

 the Hawaii Revised Statutes.

       9.     The Marshal has asked Plaintiff to obtain a Court order detailing the

 procedures for the execution sale, including information regarding selection of

 starting bids, 10% bid deposits for bidders, consequences for the successful bidder

 that does not pay the balance in full within the time allowed, the Court’s direction

 regarding any opposition to the auction procedures, delivery of title to the

 successful bidder, and authorizing the Marshal to conduct the auction pursuant to

 any other instructions and procedures in accordance with the Court’s order, thereby

 necessitating the instant motion.

       10.    The Motion is unopposed by Defendant Sandwich Isles



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 Communications, Inc.

       I declare under penalty of perjury that the foregoing is true and correct.

 DATED: April 19, 2024.

                                            /s/ Shane Huang
                                        SHANE HUANG




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